       Case: 1:06-cv-00552 Document #: 1014 Filed: 03/26/19 Page 1 of 2 PageID #:21830              M.
                         TO:   CLERK OF THE UNITED STATES
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                                    DISTRICT COURT
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                               NORTERN DISTRICT OF ILLINOIS
                               2L9 S. Dearborn st.,                        THOMAS G. BRUTON
                                                                         CLERK, U.S. DISTRICT COURT
                             cHrcAGo, TLLTN0IS 60604




                      FROM: MR.EARL      R.   EDI^IARDS   #832366
                             DANVILLE CORRECTIONAL, CENTER,
                             3820 EAST. MAIN ST.,
                             DANVTLLE, rLLrNorS 61834
DATE   t3/22/20L9
                       RE:   INSURENCE LITIGATION RELATING TO YOUNG         V.   COOK COUNTY
OF C00K STRIP SEARH SETTLEMEN CASE              N0. 06-cv-552


DEAR, CLERK

                I   HAVE FILED AND I,JRITTEN SEVERAL LETTERS SHOI,JING THAT             I   WAS

APART OF THE LAW SUIT SETTLEMENT, AND THAT MY PAPER WORK SHOW THAT I FILE
EVERYTHING TIMELY, BECAUSE I WAS APART OF THE FIRST LAW SUIT FILED AND DID
RECEIVE PAYMENT, AND STILL HAVE A COPY OF ALL THE PAPERWORK,
I                                    I
                               FEEL LIKE I AM BEING DEFAUD OF MY CLAIM BY
    I,JRITE TO THE COURT BECAUSE
THE LAWYERS WHO REPRESENTING THE CASE, I ALSO FILLED OUT A CLAIM FORM FOR
THIS CASE ON TIME JUST LIKE EVERYONE ELSE.
        CLERK OE THE COURT I WOULD LIKE TO ADDRESS THE COURT OF BEING
DEFAUDED OF MY CLAIM BY THE LAW FIRM. LOEVY & LOEVY ,
          ATTORNEY MICHAEL KANOVITZ AND SCOTT RAUSCHER.



                                                             THANK YOU
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DANVTLLE, rLLrNorS 61834

                                               CLERK OF THE UNITED STATES DISTRICT COURT
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